Case 1:21-cr-00094-RBW Document 45 Filed 03/24/23 Page 1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
V. Criminal Action No. 21-94 (RBW)
ANTHONY MARIOTTO,
Defendant.
)
ORDER

In accordance with the oral rulings issued by the Court at the motion hearing held on
February 28, 2023, via videoconference, it is hereby

ORDERED that the defendant’s Motion for Early Termination of Probation, ECF No.
41, is DENIED.

SO ORDERED this 24th day of March, 2023.

guild Lebo

REGGIE B. WALTON
United States District Judge
